









Dismissed and Memorandum Opinion filed May 19, 2005









Dismissed and Memorandum Opinion filed May 19, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00402-CR

____________

&nbsp;

DUNG HUY TRANG, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF
TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
338th District Court

Harris County, Texas

Trial Court Cause No. 766,951 

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an attempted appeal of the trial court=s denial of
appellant=s motion to review records and trial
documents. 








Generally, an appellate court only has jurisdiction to
consider an appeal by a criminal defendant where there has been a final
judgment of conviction.&nbsp; Workman v.
State, 170 Tex. Crim. 621, 343 S.W.2d 446, 447 (1961);&nbsp; McKown v. State, 915 S.W.2d 160, 161 &nbsp;(Tex. App.CFort Worth 1996, no pet.).&nbsp; The exceptions include:&nbsp; (1) certain appeals while on deferred
adjudication community supervision, Kirk v. State, 942 S.W.2d 624, 625
(Tex. Crim. App. 1997); (2) appeals from the denial of a motion to reduce bond,
Tex. R. App. P. 31.1; McKown,
915 S.W.2d at 161;&nbsp; and (3) certain
appeals from the denial of habeas corpus relief, Wright v. State, 969
S.W.2d 588, 589 (Tex. App.CDallas 1998, no pet.);&nbsp;
McKown, 915 S.W.2d at 161.&nbsp;


The denial of a motion to use trial records is not a
separately appealable order.&nbsp; Because
this appeal does not fall within the exceptions to the general rule that appeal
may be taken only from a final judgment of conviction, we have no jurisdiction.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 19, 2005.

Panel consists of Justices
Edelman, Seymore, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





